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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                No. 4:13CR00068-03 JLH

KENNETH EUGENE BROWN, SR.                                                        DEFENDANT

                                           ORDER

       Pending before the Court is the defendant’s unopposed motion to continue change of plea

hearing currently set for Friday, November 8, 2013. The motion is GRANTED. Document #161.

       The change of plea hearing for defendant Kenneth Eugene Brown, Sr., is hereby rescheduled

for THURSDAY, NOVEMBER 21, 2013, at 3:00 P.M., in Courtroom #4-D, Richard Sheppard

Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 12th day of November, 2013.



                                                   ___________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
